Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 1 of 11 Page ID #:177



    1     ERICA J. VAN LOON - State Bar No. 227712
          evanloon@glaserweil.com
    2     GLASER WEIL FINK HOWARD
            AVCHEN & SHAPIRO LLP
    3     10250 Constellation Boulevard, 19th Floor
          Los Angeles, California 90067
    4     Telephone: (310) 553-3000
          Facsimile: (310) 556-2920
    5
          JOHN G. JACKSON (admitted pro hac vice)
    6     jjackson@chamblisslaw.com
          CHAMBLISS, BAHNER & STOPHEL, P.C.
    7     Liberty Tower
          605 Chestnut Street, Suite 1700
    8     Chattanooga, TN 37450
          Telephone: (423) 756-3000
    9     Facsimile: (423) 265-9574
   10
          Attorneys for Defendants
   11     Deux on, Inc., Rob Hensley,
          and Eric Hensley
   12
                                     UNITED STATES DISTRICT COURT
   13
                                   CENTRAL DISTRICT OF CALIFORNIA
   14
                                               WESTERN DIVISION
   15
          WEBMAGIC VENTURES, LLC, a                           CASE NO.: 2:18-cv-5933-PA-AS
   16     California limited liability company,
                                                              Hon. Percy Anderson
   17                            Plaintiff,
                                                              DEFENDANTS’ REPLY IN
   18     v.                                                  SUPPORT OF MOTION TO
                                                              DISMISS PURSUANT TO FED. R.
   19     DUEX RON. INC., a Tennessee                         CIV. P. 12(B)(2), 12(B)(3), OR IN
          Corporation; RON HENSLEY, an                        THE ALTERNATIVE, TO
   20     Individual; and ERIC HENSLEY, an                    TRANSFER VENUE UNDER 28
          individual,                                         U.S.C. §§ 1404, 1406, 1631.
   21
                                 Defendants.                  DATE:   August 27, 2018
   22                                                         TIME:   1:30 p.m.
                                                              COURTROOM: 9A
   23
                                                              TRIAL DATE:         Not set
   24

   25

   26

   27

   28

               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 2 of 11 Page ID #:178



    1              This Brief replies to Plaintiff's Opposition brief [Doc. 20] filed August 6, 2018.
    2     Plaintiff has raised no argument or authority which would provide a basis for this
    3     Court to exert personal jurisdiction over the Defendants. Nor has it offered a reason
    4     why venue is proper anywhere in California. Defendants’ motion should be granted.
    5     I.       This Court does not have personal jurisdiction over the Defendants. 1
    6              A.      Whatever arguable connection Defendants have with California, it is
    7                      not “substantial.”
    8              Plaintiff’s Opposition attempts to cobble together a case for personal
    9     jurisdiction based on assumptions without factual support and manufactured facts.
   10     That is not what the personal jurisdiction inquiry should look like. Rather, the goal is
   11     to determine whether “the defendant’s suit-related conduct … create[d] a substantial
   12     connection with the forum State,” not a random, fortuitous, or attenuated connection.2
   13     Plaintiff never attempts to distinguish the cases Defendants discussed at length in
   14     their opening brief:
   15                   • Axiom Foods: 10 allegedly infringing newsletters sent by email to
   16                      recipients in California. No personal jurisdiction.3
   17                   • Advanced Tactical: An allegedly infringing product shipped to forum,
   18                      multiple email “blasts” to multiple recipients in forum. No personal
   19                      jurisdiction. 4
   20              In light of those cases, Defendants’ connection to California, if any, cannot be
   21     called “substantial.”
   22              Defendants have not specifically solicited California business. Only a
   23

   24     1
            Plaintiff makes no argument in its Opposition that Defendants are subject to general personal
   25     jurisdiction in California, and predicates its argument solely on specific jurisdiction.
          2
            Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017) (emphasis added)
   26     (quoting Walden v. Fiore, 571 U.S. 277, 284 (2014)).
          3
   27       Id. at 1070.
          4
            Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 801 (7th Cir.
   28     2014).
                                                          1
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 3 of 11 Page ID #:179



    1     miniscule fraction of Defendant Deux Ron, Inc.'s (“Deux Ron”) online sales of Play
    2     Cards involved persons who are residents of the forum (one sale, actually, and it is
    3     not proven that that purchaser was in California when the purchase was made). Deux
    4     Ron provides entertainment; Defendants provide literally nothing of value to a person
    5     that cannot travel to Tennessee and patronize their place of business.
    6             This case bears analogy to a Southern District of New York trademark
    7     infringement case concerning ticket sales, where the court denied personal
    8     jurisdiction in part because while the alleged infringer’s tickets could be bought from
    9     the forum, the tickets could only be picked up in Missouri.5 Assuming there was any
   10     infringement, it “occurred in Missouri, not New York.” 6 The same is true here, as
   11     Deux Ron Play Cards are effectively tickets to use its entertainment services.
   12             True, the Ninth Circuit examines the interactivity of a litigant’s website as part
   13     of its determination whether that litigant is subject to personal jurisdiction in a
   14     forum. 7 The importance of this inquiry should not be overstated as it is not
   15     particularly clear what it is about the interactivity of a website that shows purposeful
   16     direction towards a particular state.8 The Sixth Circuit has explained that an
   17     interactive website that seeks to sell goods throughout the country is not interactive
   18     enough to establish jurisdiction absent evidence the website “reveals specifically
   19     intended interaction with residents of [the forum state].” 9 Inventors Row, Inc. v.
   20

          5
   21       Bensusan Rest. Corp. v. King, 937 F. Supp. 295, 299 (S.D.N.Y. 1996), aff’d 126 F.3d 25, 27 (2d
          Cir. 1997)
   22     6
            Id. at 299, 300-01 (incorporating discussion regarding New York long arm statute to discussion of
   23     due process).
          7
            Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1229 (9th Cir. 2011).
   24     8
            Advanced Tactical Ordnance Sys., LLC, 751 F.3d at 803 (“The interactivity of a website is also a
   25     poor proxy for adequate in-state contacts…. [T]he operation of an interactive website does not show
          that the defendant has formed a contact with the forum state.”).
          9
   26       Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d 883, 890 (6th Cir. 2002); see also Fruit of the
          Loom, Inc. v. En Garde, LLC, No. 1:17-CV-00112-GNS-HBB, 2017 U.S. Dist. LEXIS 136851, at
   27     *11 (W.D. Ky. Aug. 25, 2017) (holding that single sale to plaintiff after commencement of
          litigation, single sale of a t-shirt to forum, and web shop that can sell and ship to anywhere, not
   28     sufficient to establish purposeful direction).
                                                         2
              DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 4 of 11 Page ID #:180



    1     Blankenship, an unreported trademark infringement case on which Plaintiff relies,
    2     illustrates that the ultimate question is whether the Defendants’ activities constitute
    3     more than random, fortuitous, or attenuated contacts with the forum. 10 The defendant
    4     had allegedly individually targeted the plaintiff and sold products through an
    5     interactive website. Critically, the “nature and quality” of that website was to
    6     facilitate defendant’s product sales, of which several hundred were to buyers in
    7     California.11
    8              Here, although the Deux Ron website has an instrumental role in getting people
    9     to visit its business in Tennessee, the “product” it sells online can only be used in
   10     Tennessee, and only one sale to California was made before litigation commenced.
   11     The Deux Ron website is interactive to the extent that any person from anywhere can
   12     pre-purchase the ability to use its facility in Tennessee. This does not show
   13     purposeful direction towards the forum. 12 Exercising jurisdiction in this case would
   14     effectively render Defendants subject to suit in any jurisdiction, a position the Ninth
   15     Circuit rejects.13
   16              B.     Plaintiff’s manufactured evidence supporting personal jurisdiction
   17                     must be ignored.
   18              Aaron Croft, an employee of the Plaintiff, purchased a Play Card online a few
   19     weeks ago. 14 He never actually alleges he was in California when he made the
   20     purchase, but that is beside the point. As a Southern District of California judge put
   21     it, federal courts do not allow “orchestrated” purchases by a plaintiff to constitute
   22

          10
   23        2018 U.S. Dist. LEXIS 75365 *9-13 (E.D. Cal. May 2, 2018).
          11
   24        Id. at *12.
          12
             Nutramarks, Inc. v. Life Basics, Ltd. Liab. Co., No. 2:15-cv-00571-DN, 2017 U.S. Dist. LEXIS
   25     75461, at *12-14 (D. Utah May 17, 2017) (“NutraMarks places too much emphasis on the
          interactivity of the website and not enough emphasis on whether the site was "expressly aimed" at
   26     Utah. … Indeed, a generalized request that anyone, anywhere make a donation to support Life
          Basics’ generic goal to become a “national brand” is insufficient to show Utah was targeted.”).
   27     13
             See Matus v. Premium Nutraceuticals, LLC, 715 F. App’x 662, 663 (9th Cir. 2018) (mem. op.).
          14
   28        (See Aaron Croft Declaration ¶¶ 1, 3.)
                                                          3
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 5 of 11 Page ID #:181



    1     purposeful availment. 15 Another district court rejected similar evidence, stating it
    2     “post-dated the accrual of the cause of action and appears to be manufactured by
    3     Plaintiff for the sole purpose of providing Plaintiff with a preferred forum for
    4     litigation.” 16 Many other courts have excluded this type of evidence on similar
    5     grounds.17 This Court should not dignify the Plaintiff’s orchestrated purchase as
    6     evidence.
    7              Defendants assert that the entirety of the Croft Declaration, including all
    8     exhibits thereto, should be excluded as the product of manufactured evidence. To
    9     better assist the Court in evaluating Plaintiff’s Opposition without Croft’s declaration,
   10     counsel has attached Exhibit A, which is Plaintiff’s Opposition with references to
   11     Croft’s declaration redacted.
   12              The Croft Declaration and its exhibits do not evidence Defendants initiating
   13     contact with a California resident; rather, they evidence Plaintiff’s employee’s contact
   14     with Deux Ron’s website. The mere fact the website collects standard identification
   15     and billing information before a transaction is consummated does not in itself
   16     correlate to purposeful availment. And simply because the user may proceed to make
   17     comments about Deux Ron's services on Facebook or other social media does not
   18     equate to Defendants’ activities in California. Finally, the creation of a user profile is
   19     specifically tied to the Gatlinburg Space Needle, obviously because services
   20     associated with the Play Card can only be rendered in Gatlinburg, Tennessee.
   21

   22

   23

          15
   24        NuboNau, Inc. v. NB Labs, Ltd., No. 10cv2631-LAB (BGS), 2012 U.S. Dist. LEXIS 32963, at
          *13 (S.D. Cal. Mar. 9, 2012).
   25     16
             ESAB Group, Inc. v. Centricut, LLC, 34 F. Supp. 2d 323, 332-33 (D.S.C. 1999).
          17
   26        See, e.g., Millennium Enters. v. Millennium Music, Ltd. P’ship, 33 F. Supp. 2d 907, 911 (D. Or.
          1999); NuboNau, Inc. v. NB Labs, Ltd., No. 10cv2631-LAB (BGS), 2012 U.S. Dist. LEXIS 32963,
   27     at *13 (S.D. Cal. Mar. 9, 2012); Dawson v. Pepin, 2001 U.S. Dist. LEXIS 10074 (W.D. Mich.
          2001); Fruit of the Loom, Inc. v. En Garde, LLC, 2017 U.S. Dist. LEXIS 136851 n.2 (W.D. Ky.
   28     2017); Edberg v. Neogen Corp., 17 F. Supp. 2d 104, 112 (D. Conn. 1998).
                                                          4
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 6 of 11 Page ID #:182



    1              C.     A Play Card is not necessarily a “gift card,” and even if it were, it
    2                     does not evidence purposeful availment of California law.
    3              The Opposition argues Defendants avail themselves of California law because a
    4     Play Card has potentially been sold to a California resident, and Arcadia Play Cards
    5     are “gift cards” under Cal. Civ. Code §§ 1749.45–.6. Assuming the Arcadia Play
    6     Cards are, in fact, subject to that statute, that is not enough to establish that
    7     Defendants’ litigation-related conduct shows purposeful availment of California law.
    8     In Boschetto v. Hansing, the Ninth Circuit denied personal jurisdiction to a person
    9     who sold a car to a Californian over eBay, because there were no continuing
   10     commitments—it was a “one shot affair.”18 The same is true here, and plus, whatever
   11     continuing commitments might attach to that Play Card have nothing to do with this
   12     case. Plaintiff’s arguments effectively contravene the long-standing rule that
   13     “[m]erely contracting with a resident of the forum state is insufficient to confer
   14     specific jurisdiction over a nonresident.” 19
   15              Further, it is questionable that that statutory section applies. The statute,
   16     regulating “gift certificates,” does not define what qualifies as a “gift card,” as
   17     acknowledged by the California Court of Appeals in Freeman v. Walmart Stores,
   18     Inc.20 No case law appears to have attempted to define “gift card” under the
   19     foregoing statute. Conclusions about the application of untested and ambiguous
   20     statutory provisions are not given a presumption of correctness in connection with
   21     consideration of a motion to dismiss.
   22              There is no reason the Court need define “gift card,” because the facts do not
   23     support Plaintiff’s argument that Defendants have assumed obligations or received
   24     protections under the statute: Eric Hensley’s Declaration identifies one sale of Play
   25

          18
   26    539 F.3d 1011, 1018 (9th Cir. 2008).
          19
   27    Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1149 (9th Cir. 2017) (quoting Ziegler v. Indian River
      County, 64 F.3d 470, 473 (9th Cir. 1995).
   28 20 111 Cal. App. 4th 660, 666 (Cal. 4th Dist. App. 2003).
                                                          5
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 7 of 11 Page ID #:183



    1     Cards to a person who identified himself as a California resident, but nowhere in
    2     Hensley’s Declaration, and nowhere in Plaintiff’s Complaint is there an allegation
    3     that such sale actually occurred in California. The sale could have occurred via the
    4     purchaser’s iPad, smartphone, or laptop computer while the purchaser was present in
    5     another state. Similarly, Eric Hensley’s Declaration does not state that payment for
    6     the play card at issue went through a California bank. Therefore, this Court should
    7     disregard the Opposition’s repeated “conclusions” that the transaction at issue
    8     actually occurred in California.
    9              Plaintiff says this Court must resolve the factual question of whether Arcadia
   10     Play Cards are shipped out of state after an online sale. But all Plaintiff can offer is
   11     raw speculation in the face of sworn statements by the Hensleys, and Deux Ron’s
   12     automatically generated email that says Play Cards “will NOT be shipped.”21
   13     Speculation is not a “dispute” of facts.
   14     II.      Deux Ron’s actions are not enough to subject its officers to personal
   15              jurisdiction in California.
   16              Even if Deux Ron is subject to personal jurisdiction in this forum, Ron Hensley
   17     and Eric Hensley are not. In its arguments in favor of jurisdiction over Ron and Eric
   18     Hensley, Plaintiff turns the doctrine of respondeat superior on its head, by attempting
   19     to impute the alleged liability of Deux Ron, Inc. to two of its officers. Plaintiff cites
   20     Doe v. Roman Catholic Archbishop of Los Angeles 22 as support, but that case simply
   21     applies respondeat superior in the way it is actually used, i.e., to make the principal
   22     liable for the acts of its agents.
   23              Here, Ron and Eric Hensley are merely accused of being the President and
   24     Vice-President, respectively, of Deux Ron, Inc. The Complaint accuses neither of
   25     being a primary or direct participant in alleged infringement. 23 Plaintiff’s Opposition
   26
          21
         (See Plaintiff’s Opposition Ex. 23.)
   27 22
         247 Cal. App. 4th, 953, 969 (2016).
   28 23
         Plaintiff’s Opposition makes that accusation at page 6, but that is not cognizable evidence.
                                                          6
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 8 of 11 Page ID #:184



    1     points to Allstar Marketing Group, LLC v. Your Store Online, LLC, but notable in that
    2     decision is that there the allegations were uncontroverted that the individual
    3     defendants “personally participated and encouraged the sales of allegedly infringing
    4     products to this district.”24
    5              The Opposition’s argument that this Court should “presume” the Hensleys’
    6     individual responsibility simply because they are officers of the company who
    7     executed Declarations on personal knowledge (Opposition, p. 3, lines 2–4) is at odds
    8     with the very cases they cite, which require direct, primary participation in the
    9     accused act. 25
   10              It is not enough for Ron or Eric Hensley to have been aware of, or even
   11     actively participated in the creation or management of content appearing on Deux
   12     Ron’s website. Rather, the conduct that is alleged to touch California involves the
   13     single sale of Arcadia Play Cards to an individual self-identified as being a California
   14     resident. 26 Nowhere in the Declarations of the Hensleys is there an admission that
   15     either man personally participated in this activity. The alleged conduct of Ron and
   16     Eric Hensley is insufficient to establish that the assertion of personal jurisdiction is
   17     reasonable.
   18     III.     The Central District of California is not the appropriate venue for this
   19              case.
   20              Under 28 U.S.C. §1391(a), venue is proper in the district where the defendant
   21     resides. There is no dispute that all three defendants reside within the Eastern District
   22     of Tennessee. This fact effectively answers Plaintiff's question “why the Eastern
   23     District of Tennessee would at all be an appropriate venue for this action,” as stated in
   24     the Opposition. 27
   25
          24
   26    666 F. Supp. 2d 1109, 1120-21 (C. D. Cal. 2009).
      25
         See Allstar Marketing Group, 666 F. Supp. 2d at 1121.
   27 26
         (See, e.g., Eric Hensley Declaration, ¶ 11.)
   28 27 Opposition, p. 14.
                                                          7
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 9 of 11 Page ID #:185



    1              The Opposition appears to concede that venue is not based on 28 U.S.C.
    2     §1391(b), which requires that “a substantial part of the events or omissions giving rise
    3     to the claim occurred” in the district.28 That leaves subsection (c) of the statute—that
    4     venue is proper where the Court can reasonably assert personal jurisdiction over the
    5     defendant. As amply demonstrated in their Motion and further explained in this
    6     Reply, there are insufficient contacts connecting Defendants to this forum to make the
    7     assertion of personal jurisdiction reasonable under due process scrutiny. Therefore,
    8     the Court should dismiss under Fed. R. Civ. P. 12(b)(3) or transfer this case to the
    9     Eastern District of Tennessee.
   10     IV.      The Court Should Deny Plaintiff's Request for Jurisdictional Discovery.
   11              The Court should reject Plaintiff's requests for “limited” jurisdictional
   12     discovery to support its claim that this Court's exercise of personal jurisdiction over
   13     Defendants is proper. First, there is nothing “limited” about what Plaintiff proposes:
   14     Its broad list of nine topics (Opposition, Page 13) range from Defendants” business
   15     transactions, corporate structure, Hensley family members’ participation in the
   16     business, alter ego theory (which is not even alleged in the Complaint), etc. Clearly,
   17     Plaintiff wishes to engage in broad-based merits discovery, not just “limited”
   18     jurisdictional discovery.
   19              Second, even the cases cited by Plaintiff state that jurisdictional discovery, if
   20     appropriate, is granted where facts bearing on jurisdiction are in reasonable dispute.
   21     In Orchid Biosciences, Inc. v. St. Louis University, cited in the Opposition, the
   22     Magistrate Judge granted limited jurisdictional discovery where the movant’s
   23     principal declarant submitted affidavits that contradicted themselves and Defendant
   24     conceded during oral argument that a genuine factual dispute existed concerning the
   25

   26

          28
   27   Id., p. 13 (after citing to subsections (b) and (c) of §1391, the Opposition simply says, "As stated
      above, Defendants are subject to this Court's personal jurisdiction" but does not argue that a
   28 substantial portion of material events occurred in the forum.
                                                          8
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 10 of 11 Page ID #:186



    1     contacts identified in the key affidavit.29 Here, Plaintiff has produced no evidence in
    2     response to Defendants’ Motion that reasonably disputes facts asserted by Defendants
    3     in submitted Declarations.
    4              Case law illustrates numerous bases for denying jurisdictional discovery, all
    5     relevant here:
    6          • “when it is clear that further discovery would not demonstrate facts sufficient
    7              to constitute a basis for jurisdiction”30;
    8          • “when Plaintiff’s moving papers contain ‘little more than a hunch that
    9              [jurisdictional discovery] might yield jurisdictionally relevant facts”31;
   10          • where Plaintiffs “state(d) only that they ‘believe’ discovery will enable them to
   11              demonstrate sufficient California business contacts to establish the Court's
   12              personal jurisdiction”32;
   13          • where the request amounts to a “fishing expedition”33;
   14          • where the Plaintiff fails to show that further discovery would change the
   15              outcome of the Motion to Dismiss. 34
   16              Underscoring the speculative, “fishing expedition” nature of Plaintiff’s
   17     proposed discovery, not one of the nine areas of proposed discovery relates to the
   18     subject matter of Defendants’ alleged wrongful conduct in relation to California:
   19     namely, the use of the mark ARCADIA in connection with goods and services. All
   20     agree that the Defendant’s forum-related activities must give rise to the claim upon
   21     which Plaintiff complains in order to satisfy the test for specific personal
   22

   23
          29
   24        198 F.R.D. 670, 674 (S.D. Cal. 2001)
          30
             Wells Fargo and Co. v. Wells Fargo Express Co., 556 F.2d 406, 430 n.24 (9th Cir. 1977).
   25     31
             Boschetto v. Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008).
          32
   26        Butcher's Union Local Number 498 v. SDC Inv., Inc., 788 F.2d 535, 540 (9th Cir. 1986).
          33
   27        UMG Recordings, Inc. v. Global Eagle Entm't, Inc., 2015 U.S. Dist. LEXIS 192686 at *31 (C.D.
          Cal. July 2, 2015).
          34
   28        Laud v. United States Department of the Interior, 342 F.3d 1080, 1093 (9th Cir. 2003).
                                                          9
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
Case 2:18-cv-05933-PA-AS Document 21 Filed 08/13/18 Page 11 of 11 Page ID #:187



    1     jurisdiction. 35 Because Plaintiff’s requests for discovery are not reasonably related to
    2     claim-related activity of Defendants or facts that Plaintiff disputes, this Court should
    3     deny Plaintiff’s request for jurisdictional discovery.
    4     V.       CONCLUSION
    5              Plaintiff cannot rely on manufactured evidence to support personal jurisdiction.
    6     In effect, then, Plaintiff has produced no evidence to rebut Defendants’ Motion and
    7     the declarations of Ron and Eric Hensley, which provide more than sufficient support
    8     for Defendants' Motions. Respectfully, this Court should hold that personal
    9     jurisdiction over Defendants is not appropriate in this forum and should dismiss this
   10     case. Alternatively, the Court should transfer this case to the Eastern District of
   11     Tennessee.
   12

   13     DATED: August 13, 2018                         Respectfully submitted,
   14                                                    GLASER WEIL FINK HOWARD
                                                          AVCHEN & SHAPIRO LLP
   15

   16
                                                         By: /s/ Erica J. Van Loon
   17
                                                         ERICA J. VAN LOON
   18                                                       Attorneys for Defendants
                                                            Deux Ron, Inc., Rob Hensley,
   19                                                       and Eric Hensley.
   20
                                                         JOHN G. JACKSON (admitted pro hac
   21                                                    vice)
                                                         CHAMBLISS, BAHNER & STOPHEL,
   22                                                    P.C.
                                                         605 Chestnut St., Suite. 1700
   23                                                    Liberty Tower
                                                         Chattanooga, Tennessee 37450
   24                                                    TEL: 423.756.3000
                                                         FAX: 423.508.1246
   25                                                    Email: jjackson@chamblisslaw.com

   26

   27

          35
   28          Schwarzenegger v. Fred Martin Motor Company, 374 F.3d 797, 802 (9th Cir. 2004)
                                                         10
               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2),
                 12(B)(3), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
1524751
